EXCERPTED DEPO. TR.
ELIZABETH A.
]ENNIS()N, M.D.

12/9/2016 Elizabeth Jennison, M°D.
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UNITED STATES DISTRICT COURT
DISTRICT OF RHCDE ISLAND
C.A. NO. l§*CV~OOl79*S~LDA

MAYRA F. PENA, : Vid€©
Pleintiff, : Depoeition cfr
V. : ELIZABETH Av

JENNISON, M.D.

HONEYWELL INTERNATIONAL
INC.,

 

Defendant.

TRANSCRIPT cf testimony as taken by
and before MARGE TEILHABER, Certified Shorthand
Reporter (NJ license NO. 30X100085600 expires
6/30/2018; CT license NO. SHR.OOOO446 expiree
12/31/16), NCRA Regietered Diplomate Reporter,
and notary public of the States of New Yerk, New
Jereey, and Connecticut, at Honeywell, Inc., 115
Tabor Road, Morrie Plaine, New Jereey, en Friday,

December 9, 2016 eommencinq at 1:09 in the afternoon.

 

 

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Virginia.

Q. Okay. Did you ever practice medicine
in an area other than occupational medicine?

A. No, l did not.

Q. Can you describe to us What your

.~day#t@=day duties ar@,as the associate director,of

health services?

A. l help set minimum standards for our
locations around the world in terms of their
performance in occupational health duties, and l
serve as internal consultant within the company
to various locations to talk with them about problems
they might have with occupational health.

Q. ls one of your responsibilities to
make sure that employees don't get injured or sick
on the job because of chemicals or other workplace
safety issues?

A. Can you rephrase that, please?

Q. Yes. Is one of your primary job
duties and responsibilities to insure that employees
don't get injured on the job because of chemicals or
other workplace issues?

A. Since I'm not located at a physical
manufacturing location, 1 can only influence by the

policies that our corporation sets that We expect

 

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Q. Was it in writing?
A. I believe it was.
Q. And can you explain what the policy
was?
A. Our policy is that we follow the

government law@nthlst@plc __ ,, t _

Q. Which is what?

A. lf we have an employee that‘s
requesting an accommodation, we follow the
reasonable accommodation process as described in
the Americans With Disabilities Act.

Q. When you were in medical school,
Dr. Jennison, did you learn about psychological
disorders?

A. We had a mandatory psychiatric

rotation as part of our medical school education.

Q. Can you tell me about that?

A. Be more specific about what you want
to know.

Q. Well, how long was the rotation for?

An 1 believe it was six weeks.

Q. Can you describe to me the rotation

and what it consisted of?
A. The items l recall would be doing

individual patient interviews and observing

 

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1 A. He does write that.

2 Q. When you read this note, did you draw
3 the conclusion that Dr. Greer was treating her for
4 anxiety?

5 A. ll expect that l inferred that from the
,6, ., ,_mem,<>.b_ut,,__3'~?;,',,$ .~i,,re§,.,.….l._.W~Ouldi.,expe<:t, I.…infer.red_.,thls_
7 from the memo.

8 Q. Okay. And at that time did you

9 believe that anxiety was a psychological disorder?
10 A. Yesv

11 Q. And at that time did you believe that
12 anxiety is a disability under the ADA?
13 MR. McNAMARA: Objection.

14 Q. You can answer.

15 A. lt could be a disabling condition

16 under the Americans With Disabilities Act.

17 Q. Okay. As a doctor would you agree

18 with me that in order to treat a patient for their
19 medical condition, you have to rely on themself
20 reporting their symptoms to you?
21 A. That is not the only thing that you
22 would rely on.
23 Q. That's one of the things you would
24 rely on. Correct?
25 A. lt is one aspect of what you would

 

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26 i_mem© but it?$…~:…ye$, l would expect l inferred this
7 from the memo.
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l time. We felt we needed additional information.

2 Q. Okay. Well, just to clarify, you did.
3 Right?

4 A. Yes.

5 Q. lt was your ~~ who had the authority
6 , 566 ,. 932 666 sir , ,,.<1,66;< 666 6_66.6166666:1 66 66 this __ time°

7 Who other than you?

8 A. l never have the authority to grant or
9 deny an accommodation,

10 Q. What is your role in this process?

ll A. l'm a medical consultant to the human
12 resources and plant leadership.

13 Q. Who had the authority to grant or deny
14 the request for a reasonable accommodation?

15 A. So the local human resources and plant
16 leadership would make that decision.

17 Q. Was that Jose Gouveia?

18 A. l don’t know.

19 Q. So your role was merely an advisory

20 one at this point.
21 Aa That‘s correct.
22 THE CGURT REPORTER: Say that,
23 repeat your guestion, please.
24 Q. Your role was merely an advisory one
25 at this time. Correct?

 

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1 Q. What about Plaintiff‘s Exhibit 4, the
2 Reguest For Reasonable Accommodation Reguest form?
3 Did you see that or review that document in or about
4 April 2013?
5 A. l don‘t recall,
6 _ _ _ ,Q-_ HOWlSltthmyourememberthefirst
7 document that was March 4, 2013 but you don't
8 remember if you saw the other two documents that
9 were sent, dated about a month later?
10 A. l wrote a letter to Dr. Greer
11 referencing the March document, so clearly l had
12 seen that document. l do not recall seeing either
13 of the others.
14 Q. Well, have you had a chance to read
15 Plaintiff's Exhibit 3, the April 2nd, 2013 letter?
16 A. Yes, l have, but it was presented to
17 me on December 6 by Mr. McNamara.
18 Q. That was the first -- okay. When was
19 the first time you saw Plaintiff‘s Exhibit 3?
20 A. l do not recall seeing it prior to
21 December 6 of 2016.
22 Q. Now that you've had a chance to review
23 it, does this letter, does this letter, does the
24 information contained in this letter satisfy your
25 request from your letter to Dr. Greer?

 

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the lower right-hand corner is numbered, starts with
HW, it’s got a bunch of zeros, and then it's 53.

A. l don't have that document.

Q. What about do you have a doctor's note
from James Greer dated April 29, 2013?

, A¢.…UH…EXCuSermeHjust…arminutewwhilerl,refer.
to the documents.
(Examining documents.)
Dated April 29th, yes, l do.

Q. Okay. So l'm going to represent to
you that that was a third doctor‘s note that Dr.
Greer wrote for Ms. Pena ~~

A. Yes.

Q. -’ to give to Honeywell in her guest
to get an accommodation for her disability. Did
you review this document on December 6, 2016?

A. Yes.

Q. And do you recall if you reviewed this
document in or about April of 2013?

A. l do not recall.

Q. When you said you don't recall seeing
the last two doctors' notes, does that mean you
could have seen them or you just don't remember?

A. l would say it's more probable than

not that l had not seen them prior to December 6,

 

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2016.
Q. Okay. Let's take a look at his
letter. He writes in the second sentence that:
"Ms. Pena has worked for
Honeywell for eleven years prior to
Eebruary 2013 and she was assigned a
new work setting in the moulding
room."
And he writes:
"She has reported repeatedly
and consistently that she finds this
new environment to be highly stressful
referencing a variety of factors
which included increased noise level,
chemical odors, and the presence of
robotics in the moulding room which
have resulted in a significant
exacerbation of her anxiety symptoms."
Had you seen this note in April of
2013 and had you read that information, would that
have satisfied Honeywell's request for more specific
information so that it could determine the
appropriate accommodation for her?
A. No.
Q. Why not?

 

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A. lt might have.

Q. Tell me about all the conversations
you had with other folks at Honeywell about Mayra
Pena's *~ strike that,

Who did you speak with at Honeywell

_61>@616,M6yr6,?€66',6 request for 6.6.,6€6©16166€1661.06 ,Qf

a disability?

A. 1 don't really remember.

Q. Did you speak to Mr. Gouveia?

A. 1 really don't know,

Q. Did you speak to the company attorney?
A. 1 don‘t recall.

Q. What about Jacgueline Rolfs? Do you
know who she is?

A. Yes, 1 do. 1 don't recall if we ever
spoke about this matter.

Q. Who is Jacgueline Rolfs?

A. She’s a labor attorney in the
corporation, and this was one of the facilities
that she supported at the time.

Q. You don't recall if she ever, if you
ever talked to her about Mayra Pena’s request for
an accommodation?

A. No, 1 don't.

Q. Okay. 1 believe you testified earlier

 

 

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